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               rs           CV                 s8s           Tl
Revised 03/06 WDNY                              UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF NEW YORK

                FORM TO BE USED IN FILING A CIVL COMPLAINT IN FEDERAL COURT
                                       (Non-Prisoner Context)

an *at"rA nt"a l

                                                             1. CAPTION OF ACTION

A.      Full Name of Plaintiff: NOTE: Lf more than one plaintifffiles this action and seeks informa pauperis status, each plaintif.f
must submit an in forma pauperis application or the only plaintiff to be considered will be the plaintiff who.filed an application.




                                                                         -vs-
B.     Full Name(s) of Defendant(s) NOTE i Pursuant to Fed.R.Cit,.P. ) 0b), the names                          o.f   all parties must ttppear in the caption.
Thecourtrnaynotconsideraclaimagainstanyonenotidentifiedinthissectionasadefendant.                                Addaseparatesheet,ifnecessary.

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3. 0.tlc.         S*'cu1.he.p-<                                                       6. M*'i*l- 9Puvn


                            2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
                                        All of these sections MUST be answered

ldentify the basis for federal. Court jurisdiction over vour claim, such as that the United States government is a party to the action, all the
parties reside in different states and therefore you claim diversity jurisdiction, or lhe claim presents a federal question or arises under
federal law.

A.   Basis of Jurisdiction in Federal Court:

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State whjt the Western District of New Tork is the proper venue.for this action, such as that your claim arises in or the defendant resides
in the 17 westernmost counties of New York State.

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B, ReasonforVenueintheWesternDistrict: -[U.r ctr) rrv\ c,6li\t:>
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Identify the nature of this action, such as that it is a civil rights claim,   o.   personal injury or personal propertv (tort) claim, o properqr rights
claim, or whatever it is.

C. Nature of Suit:

                                                                                                                                                                VY)
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                                            3. PARTIES TO THIS ACTION
PLAINTIFF'S INFORMATION NOTE: To list additional plaintffi,                      use this   format on another sheet of paper.

Name ofFirst rlaintiff ? rno-t d,r
                                   (ii-y FI\c*SJ
Present Address:



Name of Second Plaintiff:
Present Address:



DEFENDANT'S INFORMATION NOTE: To                           list additional de.fendants, use this format on another sheet of paper

Name of First   Defendant:    il   . c. K   Bu    Ai
Official Position of Defendant (if relevant):
Address of Defendant:



Name of Second     Defendant: Tlr           o   flr   e,   < $ il f: {1€
Official Position of Defendant (if relevant):
Address of Defendant:



Name of Third Defendant:      fkl.". (-.--:t krr>-(
Official Position of Defendant (if relevant):
Address of Defendant:




                            4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A.      Have you begun any other iawsuits in state or federal court deaiing with the same facts involved in this action?
                   Yes-      No    /
If Yes. complete   the next section. NOTE: If ltou have brought more than one lawsuit dealing willt the same .facts as this
action, use this.fbrntat to describe the other action(s) on another sheet of paper.
I   .   Name(s) of the parties to this other lawsuit:
        Plaintiff(s)
           Case 1:13-cv-00833-RJA-JJM Document 1 Filed 08/14/13 Page 3 of 20




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         Defendant(s):     f\/'A-

.'
         Court (if federal court, name the district;         if   state court. name the       county): /r./ iV


3.       Docket or lndex Number:

4.       Name of Judse to whorn case was     assigned: Ar l-\
                            date the action was filed:
                                                       ,J r}
5.       The approximate

6.       What was the disposition of tire case?

                  is it still pending?     Yes_         *r-1
                           If not, give the approximate date it was resolved,                   il A.
                  Disposition (check tirose statements which appl5z):

                  N   N   Dismissed (check the statement wirich indicates wiry it was dismissed):

                           _IfA   By court sua sponte as frivolous. nralicious or for failing to state a ciaim
                                  upon which relief can be granted;
                           _-1\!A By court for faiiure to prosecute, pay fiiing fee or otherwise respond to a
                                     court order;
                           JtA       By court due to your voluntary withdrawal of ciaim;
                                     upon motion or after trial entered for
                  -Adigdggn]
                            d+4 plaintiff
                            IVtYdefendant.



                                                       5. STATEMENT OF CLAIM
 Please note that it is not enough to iust list tire ground(s) for your action. You must include a statement of tire facts whicir
 you believe support each of your claims. ln other words, just tel1 the story of wirat happened and do not use iegai jargon.


 Fed.R.Cir,.P. 8(a) states that a pleading rrust contain "a short and plain statement of the clairn showing that the pleader is
 entitled to relief." "The function of pieadings under the Federal Ruies is to give fair notice of the claim asserted. Farr notice
 is that whicii wili enable the adverse party to answer and prepare for trial. ailow the application of res judicata, and identifl,
 the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo.49 F.3d 83. 86 (2d Cir. 1995).


 Fed.R.Civ.P. 10(b) states that "[a]il averments of claim... shall be made in numbered paragraphs, tire contents of each of
 which shall be iimited as far a practicable to a single set of circumstances."




 A. FIRST CLAIM:          On (date   o.f   the   inciderr)   fan      _   t t,'"^   A o i:\
 defendant @ive the name snd        (if relevanil the oosition held o/ each defendant involved in this inciderrr)TL,O rno.S
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did the following to me (briefltt state what each defbndant nanted above did):




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The federal basis for this ciaim is:

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State briefly exactly what you want the Court to do for    you. Make no l.egal arguments and cite no cases or statutes',
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      c-*>tLtf 7 OrS e:i-    v5.rc-'

B.     SECOND    CLAIM:     On (date of the incident)   T.-,.. ltr*"'.'frr3
defendant (give the name and (if relettant) positiott held oJ'each delbndant involved in this incident)     N , c-V- 0 Jif
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did ttre following lo me (briefl)t state what each de.fertdant named above did)                                                     clr
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The federal basis for this claim is:                                              t ev.-   h                                  !'^1v,str
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 State   briefly exactly what you want tire Court to do for you. Make no legal arguments and cite no cases or statutes'.
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 lf   you have additional claims, use the above format to set them out on additional sheets of paper.
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           Case 1:13-cv-00833-RJA-JJM Document 1 Filed 08/14/13 Page 10 of 20




                                           6. SUMMARY OF        RELIEF SOUGHT
                           Surumarize the relief requested bt, you in each statenxet'tt of claim above




Do you want   a   jury trial?   Y", /    No-
I declare under penalt\/ of perjury that              the foregoing is true and correct.
Executed           lq I I \
           "" oT / (date)

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NOTE: Each plaintiff must sign this complaint and must,also sign all        subsequent papers filed with the Court.

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                                                                              Si   gnature(s) of Piaintiff( s)
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                                    oss grew up in Buffalo, born into a world of drugs and crime. His
                                    mother and father were what Moss called "street peoplen' and were
                                    drug addicts growing up. Moss remembers his mother being a sort of
                                    "professional shoplifteq" stealing merchandise to sell since she was
                        12 years old. Drugs and crime consumed her, and she spent much of her life in
                        and out of jail and rehab. Moss's fatheq although having part in some legiti-
                        mate businesses, dealt drugs on the side for additional income.
                           "My mother and father, they separated when I was young. It was a very vio-
                        lent relationship between them two. My father used to beat my mom; my mom
                        would lash out at my father. My fatheq he stabbed my mother one time. She
                        only has one lung. My stepmother shot my father in the chest; I saw that, too,
                        but I can't really remember it; I was five," Moss said.




Overcomlng the
                          Interestingly, one of the businesses that Moss's father invested in was the pro-
                        fession that Moss would eventually enter "My father invested into a funeral
                        home back in the '70s, so that's son of how I kind of got interested," he said.
                        "He gave me something different to look forward to other than being in the
                        streets."
                           Nevertheless, drugs became a focal point of Moss's parentt lives. "I was
                        born in '79. Crack hit here pretry heavy in Buffalo around about '85, but my
                        dad was already supplying stuff," he said. "But they didn't call it crack then;
                        they called it'freebase,' and you would smoke it."
                           Because of his mother's dangerous crack habit, she would often go missing
                        from their home, and Moss would desperately try to find her in local crack
                        houses. "It was kind of rough, but my attitude kind of had changed when I was
                        about maybe 12. My attirude kind of changed for the worse," Moss said. "My
                        father wasn't around, my mother wasn't there to nurture me, so I thought


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somethin8 was wrong with me.           I   was   released her frustration by beating him.         simply survive, he moved to uptown
really withdrawn."                               "She would beat me, she barely kept              Buffalo and started to sell drugs -
  As it is with many children of par-            food in the house, there were no                 barely feeding himself on food stamps.
ents who are involved with drugs,                Christmases, no birthdays, no school             Moss's father eventually let him sell
Moss and his half brother Ray Ray                clothes, none o{ that. She would just be         drugs inside his father's own crack
started to sell drugs on the street for          real mean and real crazy" Moss said.             house with Ray Ray. Moss wasn't
money. "I didnt want to be involved in             After a few years, Moss's sister               proud of this. but at the time, it was
a lot of things I ended up being                 kicked him out of the house, and he              the only way to survive.
involved in later in my life, but that's         had no choice but to return to Buffalo.
all I had seen," he said. Moss would             His mother, who was clean from drugs             & l*r:w {,}irr:r;ii**i
also have to pay the bills at the age of         at the time, got an apartment. Moss                 Things changed for Moss one sum-
12, simply because his mother would              returned to school but he soon real-             mer when he found out about a school
be smoking crack       -   and be completely     ized that drugs had become extremely             program where young students do
unaware that the lights had been                 prevalent in Buffalo. Eventually, his            homework and take classes. Moss
turned off in the house by the electric          mother relapsed, and Moss spent                  scoffed at the idea of using summer            {
company.                                         much of his life in the street, hanging          for homework, but he decided to try it
  Although Moss's mother would not               orlt with gangs.
                                                   'When                                          - if only just to meet some of the pret-
let him participate in any school                         Moss was 15, his mother was             ry girls in the program.
sports, she allowed him to go to karate          arrested for murdering her landlord, a             And contrary to popular belief from
classes. Moss immersed himself into              crime that Moss vehemently denies she            Moss's teachers, he was extremely
his lessons and practicing; he saw it as         was involved in. She is still in jail to         intelligent. "I would slack off all year,
a way to escape his life, if only for a          this day. At the age of 16, Moss                 pay attention at the end of the year
short while. It also made him a strong           became emancipated from his parents,             and ace all the finals," he said. But
opponent for any schoolmates that                had no money and no real place to call           since Moss was a troublesome kid, his
said anything derogatory about his               home. *There was McDonald's (where               teachers never put in any time to guide
family. However, Moss's anger and                he and his friends hung out), and I              him in a better direction.
temper got him suspended every year              would legitimately put in an applica-              After some coaxing from his moth-
from fifth grade to his senior year of           tion every day, euery day,l would go             er, Moss decided to enter the school
high school. Eventually, these fights led        job hunting, because I never wanted to           program for the summer. "It showed
to expulsion,                                    sell crack," Moss said. "I saw what it           me something different, other than
   Moss decided to leave Buffalo and             did to my mother, I saw how it                   violence and fighting and things like
moved to Atlanta to live with his sister         destroyed my family with my father,              that," he said.
- but this would not be the true escape          and I just looked at things differently."          One class in particular changed
that Moss was looking for. His sisteq              No one would give Moss a job and               Moss's entire life. The class, which was
gnpped by jealously, had felt that their         he had no way to support himself.                focused on lJ7all Street stocks and
mother always favored Moss, and she              Going against what he believed in to             bonds, was one of Moss's least




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favorite classes. One day,
howevero the teacher asked
the class,   "If you had X
amount of dollars, give me
two   businesses you guys
would invest in." The class
had to write a small expla-
nation of the businesses
that they would invest in,
and why, and then they
would read it to the class.
  Moss got up, exasperat-
ed, and told the class that
he would invest in either a
funeral home or a movie
theater. "(The teacher)
looked at me                  very
strange," Moss remem-
bered. *He said,'You have
a real strong mind, son. I
didn't expect that from                  Photo: The Moss Family (trom left): Son Raymond, Binaldo, daughter Rayna, wire Marie and son Raymar.
you. You would really go (Photo courtesy of Dana Richie Photognphy)
into a funeral business?"'
   "Yes, I would gor" Moss answered,    clean off drugs, asked Moss where he                               to   school. His financial aid was even
and explained the history of his                          was going to go to school after he               taken care of through the summer
father's investments in the local funer-                  graduated high school. Moss men-                 education program.         Aftcr some
al home.                                                  tioned that he was thinking about                thought, he eventually enrolled himself
  His teacher was intrigued and                           mortuary school. "That's funny that              at the State Universiry of New York at
explained to Moss that the mortuary                       you should say that,'his father said.            Canton.
science program was only two years                        "I'm actually trying to get into another           The campus of the rural college was
and that it was a steady business.                        business deal      with another funeral          a huge culture shock for Moss, as pre-              .,"-:i


"After that, he kind of took to me,"                      home."                                           dominately white and male students
Moss said. Moss continued to keep his                       Although Moss flip-flopped on the              attended the college. "There were no
grades up and became more involved                        idea of going to mortuary school, he             women up there, there were no cars up               tr
in the program.                                           was told by his friends, who were                there ... the only thing there was to do
  Moss's father, who had just gotten                      dealing drugs at the time, to go back            was study mornrary science," he said.




      Are families demanding more customised looking casksts?

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  In his sophomore         year, Moss even                 Moss said. To add insult to iniury,                  news and then a plane flew into the
doubled up his classes in order to                         Moss {ound out that his father had                   fwin towers. I didn't think it was real. I
graduate orr time - with honors. "I                        not invested in the funeral home that                thought that some dumb pilot flew the
ended up becoming the president of                         he had been telling his son about all                plane into the twin towers. Then all of
the Mortuary Science Association (at                       through his schooling. Moss was                      a sudden, the other one hit later. Every-
college)," Moss said,      "It was a totally               shocked and betrayed by his father's                 one was calling the funeral home and
different outlook now."                                    lie, and wasnt sure what the next step               something just came over me."
   However, during college, he had                         was for his career or his life.                        Moss's blood boiled with anger from
found out that his best friend, Mau-                          After much searching, Moss found a                the situation he was watching on the
rice, had suddenly died in his sleep.                      job opening for an intern atThomas T.                TV, and with his father being a Marine
lfith everything that Moss had gone                        Edwards Funeral Home in Buffalo.                     and other relatives having served in the
through in his life, and now with his                      The funeral home had too many cases                  military he knew what he was destined
best {riend gone, he realized that if he                   and was terribly understaffed, and                   for.'I've been a fighter all my li{e, and
was going to survive, he couldnt live                      since Moss was very educated in mor-                 now I have a skill: I'm a mortician. So I
his former life anymore. "Either I'm                       tuary science and knew his way                       went to the recruiting office." Moss
going to change, or I'm going to die                       around a good embalming, he was                      signed himself up in November 2001,
trying to," he said to himself.                            offered a iob there. "The funeral home               for three years in the Army. He became
                                                           did about 300 cases a year. IUfe did all             a mortuary affairs specialist in the 54th
& fi*uqh $tnrt                                             our own removals, casketing, embalm-                 Quarter Master Company and was
  After Moss completed college, he                         ing everything. We didnt call anybody                eventually involved in the 4th infantry
returned home to Buffalo, excited to                       else," Moss said.                                    division while in Iraq.
start his life anew Unfortunately, he                         But everything changed for Moss on                  During Moss's time in service, he
found it difficult to get his first job. "I                one fateful day. "I was sitting at the               ended up in Fort Lee, Va., and was then
came home ready to conquer the                             funeral home, getting ready for a funer-             deployed to Germany for about five
world! I got my degree in two years. I                     al. It was about 8:30 a.m., Sept. 11,                months, helping with mortuary prac-
was 20      - the youngest black  mortician                2001," he said. "We had a little TV in               tices. "In the meantime, in the service, I
in Buffalo    -   and I couldn't get a job,"               the cabinet and       I was watching           the   ended up marrying my wife (Maria).



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She was pregnant, and she was very         Photos: The United Memorial and Moss
suppoftive of me. She's been there with    Funeral Home in Buffalo, N.Y., lvas
                                           completely destroyed in an accidental lire on
me the whole time. She gave me moti-
                                           Jan. '1, 2011. (Photos courtesy ot WW-ru,
vation to do something different. I        www.wivb,com)
wanted to make sure my children
wouldn't go through the same things        been so important         to Roland, he
that I went through," Moss said.           embalmed his godfather himself and
   He was brought back home just in        ran the entire service as a final gift to
time to see his first son, Raymar, born.   Roland.
He was then deployed to Iraq and             "I did the service; it was         a very
helped with search and recovery mis-       stressful service," Moss remembered,
sions. "I learned about excavations,       "The president (of the funeral home)
mass burials, disaster mortuary death      at the time saw my work and I told
teams, but they   didnt know how to        him,'You don't owe me anything;
embalm.    I was a specialist (for         this was my godfather. It was an
embalming)," Moss said.                    honor for me to do the work for him.
  'When Moss's tour was finally over       You don't have to pay me for the ser-
and he returned home, he was faced         vices."'
with an unpleasant situation: His for-       Although Moss might not have
mer job at the funeral home was            been paid for the service, the funeral
gone. Frustrated, Moss started to col-     home was still staying busy with calls
lect unemployment, and his wife did        every day - and Roland, the busi-
telemarketing to make ends meet. He        ness's star embalmer, was now
moved his family into a house that he      deceased. Moss went into negotia-
had lived in with his brother when he      tions and even took additional busi-
was younger. Moss started to do            ness classes      to learn the        inner
trade work for funeral homes and           workings of how a funeral home
even started selling cars with his         operates. *We worked out an install-
brother. "Luckily, I landed an assis-      ment process with the mortgage, with
tant management iob at Memorial            the building, things like that,"          he
Chapels of Buffalo with Charles Sim-       said.
mons," Moss said. "Mr. Simmons              After some serious negotiations,
taught me how to do arrangements           Moss eventually became president of
and deal with families because I was       the United Memorial and Moss
lacking in that area of funeral ser-       Funeral Home. "After all of the
vice. Embalming and everything, I          work, the headache, the disappoint-
had that down pat. I did so many           ments and the letdowns, everything
bodies within that short period of         came back together," he said. "I was
time."                                     trying and struggling for 10 years to
                                           get my own funeral home. For 12
          #rir** Yr:geth*r
Thr: Fis:ers                               years, I would just say to myself,'I'm
  Vhile Moss was working in the            going to get a funeral home. I'm
trade, he found out that the former        going to live a normal life and raise
manager at United Memorial Funeral         my family the right way.'That's the
Homes in Buffalo had left the busi-        only thing I ever really wanted to              Jan. 1,20L1, when the funeral home
ness. Moss's godfather, Roland, ran        do."                                            was completely lost in a six-alarm
the funeral home at the time. United         Moss added, "Funeral service gave             fire. Two firefighters almost lost their
Memorial was interested in Moss's          me a sense of fulfillment and a sense           lives in the inferno.
talents, but Moss refused to leave his     of worth, a sense of being within                  "I thought someone had set the
job unless he was offered an owner-        society. I knew what it was like to be          funeral home on fire and I was very,
ship stake in the United Memorial          destructive, but I never knew what it           very upset," he said. "l went into my
business. But sadly, Roland passed         was like to be there for someone in             own little shell, and I just stayed in
away. His widow called Moss and            (his or her) time of need."                     the house for a couple of days. I
told him that Roland said in the past                                                      didn't even talk to my wife a lot. rWe
that if he died, he wanted Moss to do      firsr*r6 frnrn thr Ashes                        were waiting for all the investiga-
his service. Moss wasn't sure he              Moss had only been president o{              tions, and I still didn't know what
could handle it, but because it had        the funeral home for 10 months until            was going on. Because I'm the

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    president of the corporation but I               hand inlthe midst of the fire."                    subject to change, still. Everything is
    didn't own the funeral home or the                 Lombardo has also made a few                     tentative."
    assets, I was still making payments              offers tQ Moss, including Moss buy-                  No matter what the outcome is with
    on it. I had only been making                    ing ond of the Lombardo Funeral                     Moss and the Lombardo Funeral
    payments for 1"0 months," Moss said.             Home locations or becoming a part-                 Home, Moss's future in funeral service
    A full investigation found the fire to           ner, bringing two communities                      is nowhere near over. "I don't do
    be accidental.                                   together. *We are trying to offer the              funeral service for the money; I do it
       However, talk of the fire started a           communiry here in Buffalo a ditler'                because I can do it. God gave me this
    media blitz. Various news stations               ent type of funeral service and make               gift," he said. "I think out of all the

u   were interviewing Moss about the
    fire and his plans for his business. "I
                                                     it affordable for the people," Moss
                                                     said. And although Moss is pretty
                                                                                                        things I have been put through, it
                                                                                                        made me a little desensitized. I'm not



#   was in shock. At first I thought the
    fire department would be able to put
    it out quickly because they have a
    firehouse right across the street. But
                                                     confident that the partnership will go
                                                     through, "I just have to see how the
                                                     payments and everything work out,"
                                                     he said. "Hopefully me and Joe Lom-
                                                                                                        too in touch with my emotions, but I
                                                                                                        can deal with death and bereavement.
                                                                                                        I have sympathy for the families and I
                                                                                                        feel like you can lean on me because I
    when they opened up the windows to               bardo can come together and get                    am strong and I can help you get
    put out the fire I   guess the oxygen            things kicked off with what we've                   through that situation that you're
    mixed with the flames and caused             a   been talking about. But everything is               going through at that time."              v
    back draft throughout the whole
    building," Moss said in a report by
    I7GRZ.TV.
      Moss also mentioned that he was
    reaching out     to various funeral
    homes so he could continue to take
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    care of his clients. The Lombardo
                                                                               Interil:r.-Jpi l,t       a:r"   rl-r ;.1'rF:,l     Fr:-;n'p   :t-,..'i'trti':
    Funeral Home was one of the funeral
    homes gracious enough to offer its
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    facilities to Moss so he could contin-                                                    ar essgrlrgl p,r* of
                                                                               T$r{fl?rt rrt rf is
    ue to conduct business.                                                                   lnr.,rlitg itaamn'.
      Moss had been leasing the United                                           ,t.iadr tln
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                                                                                 i:
    Memorial and Moss Funeral Home,                                              I



    so the insurance on it will be paid to                                        www. n.tchPl Bn n,rrg lle(i8n. rom
    the owner. Moss continues to wait                                        7bl-ld+d 50: . ti [t:rrB urchslar ri rqc+:i Jir mn
    until all of the insurance issues are
    taken care of and is operating out of
    another firm. "The firm that I am
    leasing out right now is Lombardo
                                                                                           Timeless Memories-
    Funeral Home," he said. "[oe) Lom-
    bardo, he's an Italian gentleman who
                                                                                        Keepsake                      Vristwatch
    has about {ive funeral homes in the
    western New York area. He does a
    lot of services for the African-Ameri-
    can communiry."
       Lombardo had contacted Moss
    when he read about the fire in the
    paper and how Moss said that it was
    important to him for funeral homes
    to work together for their communi-
    ties. "(Lombardo) called me and we
    sat right here at the funeral home
    and we had a lot of things in com-
    mon,' he said, "He felt the same way
    as me. His grandfather had started
    the funeral home and his grandmoth-
    er was the first woman funeral direc-
    tor in Buffalo, so his family was into
    funerals a lot and he offered a helping


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                                                                                                                   NYS DePartment of State
AUthOrizatiOn fOr CrematiOn and                        Disposition                                                     Divisionorcemeteries
                                                                                                 One Commerce Plaza, 99 Washington Avenue
                                                                                                                         Albany, NY 12231
                                                                                                                            (518) 474-6226
                                                                                                                        w\,ttw.dos.ny.us



        This Authorization Form must         be completed and signed prior to delivery of remains for cremation.

Date:                                                                  Number:


Crematory Name:

Address:                                                                                              Phone:


 CREMATION IS AN IRREVERSIBLE AND FINAL PROCESS.
 Cremation is carried out by placing the remains of the deceased and the container holding the remains into a
 cremation chamber wherethey are subjected to intense heat and flame. The heat and flame will incinerate and
 consume everything except bone and metal, which are all that will be left after cremation.                        r

 Following cremition,-the crematory will take reasonable efforts to remove all of the remains and other material from
 the cremltion chamber, but some minimal dust and residue will likely be left behind. The crematory will separate
 incidental and foreign material from the remains and the incidental and foreign materialwill be disposed of as
 required by law. The cremated remains will be mechanically pulverized into small pieces and placed into a
 Oeiignated container or urn. Cremated remains generally are pulverized until no single fragment is
 recognizable as skeletaltissue.                                                                                     I

OPENING OF CONTAINER
The crematory may only open the container holding the un-cremated human remains in limited circumstances, such
as to confirm the identity of the deceased or to ensure that no material is enclosed which might injure employees or
damage crematory property. lf human remains are delivered in a container which is not suitable for cremation
such as a ceremoniat or rental casket, the crematory will require that the remains be moved into a suitable
container before it accepts the remains. The opening of a container or the transfer or removal of remains will be
conducted before a witness and will be done in privacy, with dignity and respect.

IDENTIFICATION OF DECEASED

 Name of Deceased:                                                                                   Marital Status:

 Last Known Address:

 Place of Death:

sex:    nu Er Age:                   DoB:                             Date of Death:                   Estimated Weight:

 Description of caskeUcontainer in which remains will be delivered:



PERSON IN CONTROL OF DISPOSITION
(Person(s) in control of disposition, initial ONE of the following)

          I am/ We are the designated agent of the deceased designated in a will or written instrument executed
pursuant to Public Health Law section 4201.
-oR-
          lA//e have no knowledge that the deceased executed a written instrument pursuant to Public Health Law
section 4201 or a will containing directions for the disposition of his or her remains and (Continued next page)

             I
DOS-1898-f-l (Rev. 12l1   1)                                                      Name of Deceased                                Page 1 of3
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I am/ we are the person(s) having priority under Public Health Law section 4201 and have the right to authorize
cremation of the remains of the deceased. My/Our relationship to the deceased is as follows:
(lnsert from the list below)
Number:               Description:

     1. A person designated in writing pursuant to Public Health Law section 4201(3);
     2. The surviving spouse;
     2a. The surviving domestic partner;
     3. Any surviving child eighteen years of age or older;
     4. A surviving parent;
     5. A surviving sibling eighteen years of age or older;
     6. A lawfully appointed guardian;
     7. Any person(s) eighteen years of age or older entitled to share in the estate and who is/are closest in
        relationship to    the deceased;
     8. A duly appointed fiduciary of the estate;
     g. A close friend or relative who has executed a written statement pursuant to Public Health Law 54201(7);
     10. A chief fiscal officer of a county or a public administrator appointed pursuant to the Surrogate's Court
       Procedure Act;
     10a. Any other person who is acting on behalf of the deceased and who has executed a written statement
        pursuant to Public Health Law $4201(7).*

(lntliaLALL THREE of the following)

               hereby affirm that the body of the deceased does not contain a battery, battery pack, power cell,
            lffie
radioactive implant, or radioactive device and that any such materials were removed prior to the execution of this
Authorization Form. Failure to remove these items prior to cremation may result in harm to the crematory and
crematory personnel.
           l/We hereby affirm that instructions have been given to lfuneratdirectorname)
regarding the removal of any personal property or other thing of value which any person signing below or any family
member of the deceased wishes to preserve. @rematory name)                                                         is not
responsible for removal of personal items from the container or from the remains         of the deceased. Personal items
left in the container or with the remains will be destroyed by the cremation process and cannot be retrieved
after cremation.

        l/We hereby authorize         @rematory name)                                                  to cremate the
remainE of the decehsed.

FINAL DISPOSITION
The person authorized to receive the cremated remains of the decedsed from the crematory is:

 Name:

 Address:                                                                                   Phone:

The cremated remains of deceased will be disposed of as follows:



lf for any reason the person named above does not take possession of the cremated remains,
(crematory name)                                                   is authorized to give possession of the remains to
(funeral home name)                                                    by delivery in person or by registered mail.


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(!n!!!a!   the fol I ow i n g)

              understand that if the remains are not claimed within 120 days of cremation,
                lrye
(crematory name)                                               may dispose of the remains in an irretrievable manner
such as by scattering.

CREMATION CONTAINER/URN
(!fl!!a!ONE of the following)
                 An urn to be used as a container for the cremated remains has been purchased from
                                                        and is described as follows:

l^//e understand that if the urn is too small to hold the entire cremated remains, an additional rigid container may be
used for delivery.
-oR-
             An urn has not yet been purchased. l/We understand that if no urn is purchased or othenarise provided
(crematory name)                                               will place the cremated remains in a rigid temporary
container for delivery.


This Authorization Form was provided by              @neradirector name)
was executed at             ltunerat home name)
(funeral home address)                                                                            and is signed by the funeral director
as witness to its execution.

lA//e have received a completed copy of this Authorization Form.
The person(s) identified below is/are the person(s) in control of disposition, who by signing this
Authorization Form, attest(s) to the accuracy and completeness of the information contained in this
Authorization Form and authorize(s) the foregoing.

Signed this                                 day of                               20


 Typed or Printed Name                                             Signature




 Typed or Printed Name                                             Signature




  Typed or Printed Name                                            Signature


 Address


WITNESS:

  Funeral Director Typed or Printed Name                           Funeral Director Signature



  Registration Number




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